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                                              July 26, 2022

  Via ECF

  The Hon. Robert B. Kugler                               Special Master the Hon. Thomas Vanaskie
  United States District Judge                            Stevens & Lee
  USDC, District of New Jersey                            1500 Market Street, East Tower, 18th Floor
  Mitchell H. Cohen Building & U.S. Courthouse            Philadelphia, PA 19103
  4th & Cooper Streets, Room 1050
  Camden, NJ 08101

          Re:     In re Valsartan, Losartan, and Irbesartan Products Liability Litigation
                  USDC, District of New Jersey, No. 1:19-md-2875-RBK-SAK

  Dear Judge Kugler and Judge Vanaskie:

          I write on behalf of the Defendants’ Executive Committee to provide Defendants’ positions

  with respect to the topics on the agenda for the conference with the Court on Thursday, July 28,

  2022. Defendants do not anticipate that any of the items on the agenda will require confidentiality.

      1. Case Management

          Plaintiffs have taken the position by letter to Defendants’ counsel dated July 20, 2022, that

  the first trial in this matter, and consequently the first round of dispositive motions and merits

  experts reports, should be a class-wide trial of the claims of the consumer economic loss groups

  identified as     ZHPTORTEVEW1            (the   “Express     Warranty      Consumer        Group”)       and

  ZHPTORTEVIW1 (the “Implied Warranty Consumer Group”). 1 Defendants ZHP, Torrent, and


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    The at-issue Defendants under Plaintiffs’ proposal would be limited to ZHP, Torrent, and Teva.
  All Defendants understand and ask the Court to confirm that the deadlines in CMO 28 apply only
  to the parties and claims specifically at issue in the first trial in this matter, and not to all claims
  and parties in all cases in the MDL. All Defendants expressly reserve the right to disclose
  supplemental experts and/or to file dispositive motions at the appropriate time.
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  Teva disagree with Plaintiffs’ proposal because it is premature and contrary to controlling law. It

  is further inconsistent with the Court’s prior statements regarding case management during the

  next phase of this litigation, in which the Court clearly said it did not want “piecemeal”

  proceedings and advised the parties to abandon “this obsessive focus on these class action

  motions” and instead to concentrate on “the third-party payor economic loss cases[.]” (June 1,

  2022 Tr. at 14:1-6, 22:5-6).

         Plaintiffs’ motion for class certification remains pending. Plaintiffs’ proposal nevertheless

  seeks to proceed to case-specific discovery, dispositive motion practice, and trial on the Express

  Warranty and Implied Warranty Consumer Groups, which together comprise 12 named Plaintiffs

  from 10 states purporting to represent 48 consumer subclasses from 28 jurisdictions. Plaintiffs’

  proposal contemplates a single jury trial on all these consumers’ and subclasses’ warranty claims

  against all ZHP, Torrent, and Teva Defendants. Plaintiffs’ proposal is legally impermissible and

  practically unworkable for multiple reasons.

         First, because the Court has not yet ruled on Plaintiffs’ pending motion to certify the

  consumer classes, moving forward with dispositive motion practice and trial violates the rule

  against one-way intervention, which prohibits a compulsory trial before class certification and

  strongly disfavors summary judgment rulings prior to the determination of class certification. See

  In re Citizens Bank, 15 F.4th 607, 618-19 (3d Cir. 2021) (“We have consistently spurned a forced

  trial-before-certification procedure[.] * * * [N[o Court of Appeal has approved foisting trial-

  before-certification on an unwilling Rule 23(b)(3) defendant.”) (emphasis in original); Koehler v.

  USAA Cas. Ins. Co., No. 19-cv-715, 2019 U.S. Dist. LEXIS 158154, at *12 (E.D. Pa. Sep. 16,

  2019) (denying plaintiff’s pre-certification motion for partial summary judgment, stating that
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  “Rule 23 ‘still disfavor[s] one-way intervention’ and counsels against a court ‘rul[ing] on motions

  that encroach on the merits of a final decision before class certification’”) (citation omitted). See

  also Knepper v. Rite Aid Corp., 674 F.3d 349, 255 & n.10 (3d Cir. 2012) (discussing abolition of

  one-way intervention by 1966 amendments to Rule 23). Meaningful substantive action on any

  proposed consumer class must therefore await this Court’s final decision on Plaintiffs’ motion for

  class certification. Plaintiffs’ proposal ignores the possibility that the Court could deny class

  certification, as well as the likelihood of a Rule 23(f) petition in response to the Court’s final ruling

  on class certification in the event class certification is granted. Proceeding to discovery, summary

  judgment, and a merits trial before these critical steps are completed invites error and would not

  materially advance the ultimate termination of any parts of this litigation.

          Though Plaintiffs’ counsel has disclaimed any intention to complete dispositive motions

  or trial prior to the Court’s ruling on class certification, there are obvious one-way intervention

  risks with proceeding to discovery, expert discovery, and merits briefing before this Court has

  decided whether any class is to be certified , and, if so, the applicable class definition(s), class

  claim(s), issues, and defenses, the appointment of class representatives and counsel, and the

  completion of class notice and opt-outs. See Fed. R. Civ. P. 23(c). Absent a ruling, the parties can

  at best only conjecture as to whether the Express Warranty or Implied Warranty Consumer Groups,

  or both, or some subset of either group, may eventually be certified as a class or classes, what

  claims they will be permitted to pursue, what issues or defenses will be at issue, who will represent

  the class or classes, who will be included in the class or classes, and who may opt out. “The rule

  against one-way intervention is implicated whenever a plaintiff seeks a ruling on an issue relevant

  to the merits of the class claims.” Koehler, 2019 U.S. Dist. LEXIS 158154, at *14-15. Here,
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  proceeding as Plaintiffs propose creates, on the one hand, a risk of entirely wasted effort in the

  event the Court denies class certification or grants a more limited certification than Plaintiffs

  contemplate, or in the event the Third Circuit rejects Plaintiffs’ proposed classes through the Rule

  23(f) review process, and, on the other hand, a risk of prejudicial one-way intervention through

  merits rulings prior to class certification.

          Second, Plaintiffs’ plan calls for improper piecemeal proceedings. Plaintiffs propose

  splitting named consumer Plaintiffs’ claims against the same defendants into multiple trials,

  requiring piecemeal consideration of these claims by different juries. That is not just undesirable,

  but impermissible. Each of the named Plaintiffs in the Express Warranty and Implied Warranty

  Consumer Groups is also a putative class representative of no fewer than 5 and as many as 16

  subclasses. Plaintiffs’ proposal suggests at most hearing their express and implied warranty claims

  (and perhaps their consumer protection claims) in one trial, while leaving all other claims—

  including additional claims against the same defendants, such as common law fraud—to be heard

  later. Though claims against different defendant groups can and should be severed, Plaintiffs

  cannot as a matter of law split up multiple claims against the same defendant arising out of the

  same events into separate trials.

          The flaw in Plaintiffs’ proposal is most apparent with respect to the two named Plaintiffs

  from New Jersey. New Jersey’s entire controversy doctrine prohibits separating these Plaintiffs’

  claims into piecemeal proceedings. “Under the entire controversy doctrine, a party cannot withhold

  part of a controversy for later litigation even when the withheld component is a separate and

  independently cognizable cause of action.” In re Mullarkey, 536 F.3d 215, 229 (3d Cir. 2008). The

  doctrine is “an extremely robust claim preclusion device that requires adversaries to join all
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  possible claims stemming from an event or series of events in one suit.” Chavez v. Dole Food Co.,

  836 F.3d 205, 228 n.130 (3d Cir. 2016) (quoting Paramount Aviation Corp. v. Agusta, 178 F.3d

  132 (3d Cir. 1999)). It “requires a party to bring in one action all affirmative claims that it might

  have against another party or be forever barred from bringing a subsequent action involving the

  same underlying facts. The central consideration is whether the claims arise from related facts or

  the same transaction or series of transactions.” Opdycke v. Stout, 233 Fed. Appx. 125, 129 (3d Cir.

  2007) (internal citations and quotation marks omitted); see also Ricketti v. Barry, 775 F.3d 611,

  613 (3d Cir. 2015). Its purposes include “the need for complete and final disposition through the

  avoidance of piecemeal decisions[.]” Ditrolio v. Antiles, 662 A.2d 494, 502 (N.J. 1995). Federal

  courts are “bound” to follow the entire controversy doctrine as substantive state law. Litgo N.J.,

  Inc. v. Comm’r N.J. Dep’t of Envtl. Prot., 725 F.3d 369, 400 n.2 (3d Cir. 2013) (quoting Rycoline

  Products, Inc. v. C W Unlimited, 109 F.3d 883, 887 (3d Cir. 1997)).

         For all Plaintiffs, moreover, federal claim preclusion principles similarly disallow splitting

  up named Plaintiffs’ claims among multiple classes and trials based on the same underlying events.

  “Claim preclusion bars suit when three elements are present: ‘(1) a final judgment on the merits in

  a prior suit involving (2) the same parties or their privies and (3) a subsequent suit based on the

  same cause of action.’” Davis v. Fargo, 824 F.3d 333, 341-42 (3d Cir. 2016) (quoting Lubrizol

  Corp. v. Exxon Corp., 929 F.2d 960, 963 (3d Cir. 1991)). “In evaluating whether those elements

  exist, we do not proceed mechanically, ‘but focus on the central purpose of the doctrine, to require

  a plaintiff to present all claims arising out of the same occurrence in a single suit. In so doing, we

  avoid piecemeal litigation and conserve judicial resources.’” Id. (quoting Blunt v. Lower Merion

  Sch. Dist., 767 F.3d 247, 277 (3d Cir. 2014)). “A determination of whether two lawsuits are based
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  on the same cause of action ‘turn[s] on the essential similarity of the underlying events giving rise

  to the various legal claims.’” Churchill v. Star Enterprises, 183 F.3d 184, 194 (3d Cir. 1999)

  (quoting Bd. of Trs. of Trucking Emps. of N. Jersey Welfare Fund, Inc. v. Centra, 983 F.2d 495,

  504 (3d Cir. 1992)). Plaintiffs’ proposal violates these principles by dividing up individual named

  Plaintiffs’ claims among multiple groupings, multiple trials, and multiple judgments.

         Third, Plaintiffs’ proposal highlights the serious deficiencies in their motion for class

  certification and in any trial plan that contemplates trying the claims of dozens of Plaintiffs,

  subclasses, and jurisdictions together in a single trial before one jury. As detailed in Defendants’

  Opposition to Plaintiffs’ class certification motion and accompanying Appendices, Plaintiffs’

  proposal simply ignores innumerable legal and factual variances among the state laws and

  individual named Plaintiffs. Among other deficiencies, Plaintiffs’ groupings ignore material state-

  law variations with respect to privity, notice, reliance, merchantability, and statutes of limitations.

  Plaintiffs’ groupings also ignore individual factual and legal variations with respect to existence

  of the warranty, basis of the bargain, existence or manifestation of defect in each Plaintiff’s VCDs,

  reliance, causation, injury, and notice. (See Dkt. 2008 to 2008-11). The variances with respect to

  the consumer protection claims are, if anything, even more pronounced. (See id.). Attempting to

  advance towards trial on these claims prior to the Court’s ruling on class certificat ion, and any

  subsequent Rule 23(f) petition, thus invites a disordered proceeding.

         Even aside from the many insuperable obstacles these variations raise with respect to

  Plaintiffs’ request for class certification, Plaintiffs’ proposal is also unworkable as a stand-alone

  trial plan. It would require this Court, in the immediate wake of whatever it may decide on class

  certification, to confront a multi-Plaintiff, multi-state set of motions for summary judgment
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  involving up to 28 states’ distinct laws. The motions for summary judgment would, in turn, be

  followed by the possibility of a multi-Plaintiff, multi-state trial. Each state has its own

  individualized jury instructions and verdict forms for each claim. (See Dkt. 2008-12 to 2008-15).

  Thus, each of Plaintiffs’ proposed trials would require a jury to be instructed on the differing laws

  of up to 28 jurisdictions, and to make individualized determinations of liability as to each named

  Plaintiff’s claims against each Defendant based on a different state’s laws and instructions, with

  further determinations as to any unrepresented states the Court permits to be presented to the jury.

  These obstacles render the cases unsuitable for class certification at all, but even if they did not,

  Plaintiffs’ proposal certainly runs contrary to the Court’s expressed preference for a “relatively

  straightforward” proceeding, as discussed below.

         Fourth, this Court lacks personal jurisdiction over the claims of multiple named Plaintiffs

  against multiple Defendants in the two proposed groupings. Plaintiffs Charlie Johnston, Brian

  Wineinger, Glenda Cooper, Marlin Anderson, Jennifer Johnson, Billy Joe Bruner, Lawrence

  Semmel, Cheryl Mullins, Miranda Dudley, and Mary McLean all reside outside of New Jersey,

  purchased their VCDs outside of New Jersey, and claim no specific jurisdictional tie to New

  Jersey. (See Dkt. 2008-16 at O-1 to O-2). Defendants Teva Pharmaceutical Industries Ltd., Torrent

  Pharmaceuticals, Ltd., and Zhejiang Huahai Pharmaceutical Co., Ltd., are all foreign entities wi th

  no jurisdictional connection to New Jersey. Consequently, Plaintiffs’ proposal would require the

  Court to sever the claims of all but two named Plaintiffs against the three foreign Defendants from

  the case.
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         Fifth, because Defendants have not granted Lexecon waivers, the Court is barred from

  assigning the claims of out-of-state Plaintiffs against foreign Defendants to itself for trial. Lexecon,

  Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26, 35 (1998).

         Because it is not legally permissible or feasible for the parties to work up claims tied to

  Plaintiffs’ proposed class actions prior to a final decision on class certification, Defendants

  previously proposed that the next phase of case management should focus on the personal injury

  bellwethers. While Defendants understand that the Court is not inclined to proceed in this manner,

  Plaintiffs’ proposal, which focuses on the consumer class action cases, is also at odds with the

  Court’s prior direction. Specifically, the Court has previously expressed its preference for a single-

  plaintiff TPP trial as the first economic loss case to proceed in this matter. (See June 1, 2022 Tr. at

  14:1-6 (“I'm not sure why there's such this obsessive focus on these class action motions. Those

  cases, the third-party payor economic loss cases, they're going to continue whether there's a class

  or not. I mean, there's enough money having been spent by some of those plaintiffs that they're

  going to continue with the litigation either on their own or as part of a class.”)). The Court also

  expressed its view that a trial on TPP claims could be conducted, and dispositive motions could be

  considered without improperly isolating the issue of liability-creating conduct from the causation

  and damages. (Id. at 18:18-20:14 (discussing Kohn v. American Housing Found., Inc., 178 F.R.D.

  536, 542 (D. Color. 1998); see also id. at 26:9-25 (similar)). Indeed, the Court specifically stated,

  “I agree that we don’t want to piecemeal these things.” (Id. at 22:5-6).2 Yet, the approach that


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   Based on the Court’s stated preference for a single-plaintiff TPP trial, coupled with the entry of
  CMO 28 (Dkt. 2131), which contains deadlines beginning in September for merits experts and
  dispositive motions, Defendants served supplemental fact discovery requests on the two TPP
  Plaintiffs who have previously been subject to initial Rule 23 discovery—Maine Automobile
  Dealers Association, Inc. Insurance Trust (“MADA”) or MSP Recover Claims, Series LLC
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  Plaintiffs have proposed would inevitably result in piecemeal rulings. In light of the foregoing,

  Defendants ZHP, Torrent, and Teva respectfully request the Court reject Plaintiffs’ proposal to

  designate the claims of the Express Warranty and Implied Warranty Consumer Groups as the first

  claims to be tried, and instruct the parties to develop a proposal consistent with the law and this

  Court’s expectations.

     2. Dismissal of CVS from the Medical Monitoring Complaint

         Following additional attempts to meet and confer with Plaintiffs, CVS again seeks relief

  from the Court in its effort to confer with Plaintiffs regarding the dismissal of CVS from the

  Consolidated Third Amended Medical Monitoring Complaint (Dkt. 1709) (the “Medical

  Monitoring Complaint” or “Complaint”). Although there remains no Medical Monitoring Plaintiff

  who actually pleads claims against CVS in the Complaint, Plaintiffs now refuse to dismiss CVS

  from that Complaint on the grounds that another Plaintiff—one who did not actually identify or

  plead CVS as a target defendant in that Complaint—nevertheless provides a basis for standing

  against CVS through her unasserted claims. For the reasons set forth below, CVS seeks

  confirmation from the Court that (i) Plaintiffs’ late reliance on these new claims is improper, and

  (ii) dismissal from that Complaint.

     A. No Medical Monitoring Plaintiff Currently Pleads a Claim Against CVS

         Although there previously were four putative class representatives who pleaded claims

  against CVS in the Medical Monitoring Complaint, none of those Plaintiffs’ claims against CVS




  (“MSPRC”). To the extent the Court orders the parties to proceed with a single-plaintiff TPP case
  involving one of these Plaintiffs in their individual capacity, this discovery will be necessary to
  prepare that case for dispositive motions and trial.
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  remain. Plaintiffs Celeste Daring and Richard O’Neill dismissed their claims in full on February

  14, 2022. (Dkts. 1913, 1914.)

         Plaintiff Sylvia Cotton, a Texas resident, previously asserted medical monitoring and

  implied warranty claims against various pharmacy defendants, but those claims were dismissed by

  the Court under Texas law in its prior rulings on Defendants’ motions to dismiss. Although

  Plaintiffs initially refused to concede that Ms. Cotton’s claims were no longer viable under the

  Court’s prior orders (see March 11, 2022 Stanoch Email, attached as Ex. A), citing their then-

  pending objections (Dkt. 1694) to Judge Vanaskie’s October 7, 2021 Order denying leave to assert

  Texas implied warranty claims (Dkt. 1614 at 26-27), the Court’s April 5, 2022 decision (Dkt. 1994

  at 23) overruling those objections resolved all outstanding issues as to Ms. Cotton, who no longer

  pleads a viable claim against CVS or any other pharmacy under Texas law.

         Finally, and most recently, on June 1, 2022, CVS sought the Court’s guidance regarding

  Plaintiffs’ refusal to dismiss claims asserted by Plaintiff Linda Silberman against CVS, despite

  Plaintiffs’ agreeing to do so in their class certification reply, on grounds that Ms. Silberman had

  not actually filled her prescriptions at a CVS store, and that CVS was not liable for purchases made

  from another pharmacy, unaffiliated with CVS. (See June 1 Hr’g Tr. 35:24 – 38:21.) After further

  back and forth with Plaintiffs’ counsel, Ms. Silberman agreed to dismiss her claims against CVS,

  and did so on June 6, 2022. (Dkt. 2095.)

         Plaintiffs do not have any putative class representatives who have specifically identified

  and traced product to CVS in the Medical Monitoring Complaint.

     B. Plaintiffs’ New Basis for Refusing to Dismiss CVS from the Medical Monitoring
        Complaint

            i.   Plaintiff Sarah Zehr’s Newly Identified Claims Against CVS
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         Concurrent with and following the dismissal of Ms. Silberman’s claims against CVS, CVS

  approached Plaintiffs seeking a dismissal in full of CVS from the Medical Monitoring Complaint,

  on the grounds that there remains no putative class representative who pleads and specifically

  traces his or her purchase of valsartan to CVS in the Complaint. (See June 13, 2022 Kapke email,

  attached as Ex. B.) After some prodding, Plaintiffs’ counsel refused, claiming now—for the first

  time since CVS raised this issue months ago—that Plaintiffs are now relying on a new, different

  claimant to assert claims against CVS.

         Specifically, Plaintiffs now claim that they can establish standing and can maintain CVS

  as a defendant by relying on the claims of Sarah Zehr, a Florida resident who alleges in the Medical

  Monitoring Complaint that she consumed a Lifetime Cumulative Threshold of valsartan

  manufactured by ZHP, with regulatory approval facilitated by Aurobindo, as distributed by

  McKesson, and filled at Walmart. (Medical Monitoring Compl., ¶ 13.) Although records produced

  by Zehr reflect that she also filled a single, 18-day prescription of Hetero-manufactured valsartan

  at CVS, Plaintiffs’ pleadings have never identified CVS (or Hetero, for that matter) as a defendant

  against whom Zehr was asserting claims. No Master Complaint (proposed or filed) has never

  referenced CVS as a seller or distributor of Zehr’s at-issue valsartan, and no prior briefing

  submitted by Plaintiffs, whether in support of Plaintiffs’ oppositions to prior motions to dismiss or

  Plaintiffs’ motion for class certification, has ever pleaded that Zehr was attempting to serve as a

  putative representative for claimants who purchased from CVS. Indeed, Zehr was deposed on

  May 20, 2021 and repeatedly discussed her 18-day fill at CVS. Despite this, in their next round

  of amendments to the pleadings, Plaintiffs solely identified ZHP, Aurobindo, Walmart, and

  McKesson in their November 2021 medical monitoring complaint paragraph relating to Zehr.
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  (Medical Monitoring Compl., ¶ 13; see also id. at ¶ 76 (failing to mention Zehr in the list of four

  plaintiffs to whom CVS “made sales.”.) It was only after the dismissal of Silberman’s medical

  monitoring claims against CVS, that Plaintiffs ever articulated this new basis for keeping CVS in

  the Medical Monitoring Complaint: that Zehr was, suddenly, someone who was asserting a

  medical monitoring claim against CVS.

           ii.   Prejudicial Effect of Plaintiffs’ Tactic

         CVS has attempted to confer with Plaintiffs about the lack of notice afforded by their new

  position. In response, Plaintiffs have argued that the generic “catch all” language they have added

  in their complaint, which states that they do not waive claims not raised in the Master Medical

  Monitoring Complaint (Medical Monitoring Compl., n.1), or that individual Plaintiffs consumed

  “one or more of Defendants’ VCDs” (id. at, e.g., ¶¶ 12-17, 23) is somehow sufficient to plead

  standing against CVS and to put CVS on notice that Zehr was specifically bringing medical

  monitoring claims against it. But Plaintiffs’ new justification for refusing to dismiss CVS from

  the Medical Monitoring Complaint is improper in at least two ways.

         First, to establish standing as to CVS, Plaintiffs must identify CVS in the operative

  complaint. Generic references to unnamed, but so-called “preserved” claims are insufficient. If

  Plaintiffs intended to rely on Zehr to assert claims against CVS, they should have pleaded those

  claims in the actual complaint. But despite multiple revisions to the pleadings, and despite CVS’s

  repeated attempts to confer with Plaintiffs about the lack of plaintiffs with actual claims against

  CVS in the Medical Monitoring Complaint, Plaintiffs have never done so. 3


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    CVS would oppose any attempt by Plaintiffs to seek leave to amend their Complaint to assert
  claims against CVS now, at this late stage in the proceedings, given the concerns regarding
  prejudice set forth herein.
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          Second, and relatedly, given the lack of any real notice in the pleadings, CVS and other

  defendants implicated by Plaintiffs’ tactics would be highly prejudiced by a late amendment of the

  medical monitoring complaint and late introduction of Zehr as a potential plaintiff with claims

  against CVS. Expert discovery on issues of class certification was extensive and has now closed,

  and the parties have already briefed class certification of the Medical Monitoring Complaint. With

  respect to Zehr, in particular, had CVS known that Zehr was asserting claims against it, CVS would

  have raised a number of issues in expert discovery and in opposing class certification, including

  that Zehr’s use of the Hetero valsartan she filled at CVS was de minimis compared to the other

  valsartan she consumed, making her an inadequate class representative as to CVS. CVS also

  would have had the opportunity to ask Plaintiffs’ medical monitoring experts questions about

  Zehr’s usage relative to the other fills in her medical history. Plaint iffs’ failure to plead actual

  claims by Zehr against CVS in the Master Medical Monitoring Complaint, however, misled CVS

  to believe there was no need for it to do so. CVS would now be unfairly and extremely prejudiced

  by Plaintiffs being permitted to assert new, unpleaded claims against it in a last ditch attempt to

  avoid dismissing CVS from the Medical Monitoring Complaint.

     C. CVS Should be Dismissed from the Medical Monitoring Complaint

          In view of the foregoing, CVS requests the Court’s guidance on resolving this issue. This

  litigation has been pending for years, and the work-up of the Medical Monitoring Complaint has

  been extensive. At a certain point, now long past, defendants such as CVS have a right to know

  which class representatives are asserting claims against them. The Master Medical Monitoring

  Complaint is the vehicle for providing that notice, and does not do so here, with respect to Ms.

  Zehr.
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         Accordingly, CVS submits that Plaintiffs should be ordered to dismiss CVS from the

  Medical Monitoring Complaint in full. Alternatively, at minimum, CVS requests that the Court

  issue an Order to Show Cause why Plaintiffs’ claims against CVS in the Medical Monitoring

  Complaint should not be dismissed for lack of standing, or that it grant CVS leave to file a motion

  to dismiss on this issue.

     3. Plaintiff Fact Sheet Deficiencies and Orders to Show Cause

  Cases Addressed at the June 29, 2022 Case Management Conference:

         The Court issued 12 show cause orders returnable at the July 28, 2022 Case Management

  Conference:

     1. Ulysses Payne v. Camber et al. – 21-cv-15129
     2. Donna King v. Doe et al. – 20-cv-8814
     3. Gail Callahan v. Aurobindo Pharm, Ltd., et al. – 21-cv-20203
     4. Margaret Tolley v. Mylan Laboratories et al. – 21-cv-10130
     5. Katherine Peyton v. Mylan et al. – 21-cv-09063
     6. Michael Shemes v. Aurobindo et al. – 21-cv-20204
     7. Leona Branch v. Mylan, et al. – 22-cv-582
     8. Vincent Anderson v. ZHP, et al. – 22-cv-449
     9. Richard Vindigni v. Prinston, et al. – 21-cv-2361
     10. Sheldon Walker v. Aurobindo Pharma, et al. – 22-cv-1372
     11. Ernestine Williams v. Mylan Laboratories Ltd., et al. – 21-cv-6946
     12. Marilyn White v. Solco, et al. – 22-cv-1251

         The issues in the Payne, Callahan, Anderson, Walker, Williams, and White matters are

  resolved, and the show cause orders may be withdrawn.

         The issues in the Shemes, King, Tolley, Peyton, Branch, and Vindigni matters remain

  unresolved, but the parties are working towards a resolution and request a one-month extension of

  the order to show cause until the August 31 Case Management Conference.

         Accordingly, Defendants do not request dismissal of any cases at this time.

  Second Listing Cases – Order to Show Cause Requested:
     Case 1:19-md-02875-RMB-SAK           Document 2139        Filed 07/26/22      Page 15 of 20 PageID:
                                                74599
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              Pursuant to CMO-16, the Plaintiff Fact Sheets in the below cases are substantially

       incomplete and contain core deficiencies. Each of these cases were previously listed on the agenda

       for a prior CMC. This list was provided to Plaintiffs’ leadership on July 19, 2022, and a global

       meet and confer was held on July 22, 2022. Defendants have also been available for further

       discussion as needed. Accordingly, Defendants request that an Order to Show Cause be entered in

       each of these cases, returnable at the next case management conference, as to why these cases

       should not be dismissed.

              Defense counsel will be prepared to address the individual issues with respect to each of

       these cases, to the extent necessary, during the July 28, 2022 Case Management Conference:



           Plaintiff         Civil              Law Firm              Deficiencies                    Deficiency
                            Action                                                                    Sent
                              No.
1.     Estate of Robert     22-cv-          Levin Papantonio             Need medical expenses        6/7/22
       Cooper v. ZHP,        1635
            et al.
2.      Raymond Dais        22-cv-        Dennis F. O'Brien PA          Please provide undated        6/15/22
        v. Mylan et al.     00518                                        authorizations; please
                                                                       provide complete medical
                                                                               expenses
     Case 1:19-md-02875-RMB-SAK        Document 2139      Filed 07/26/22     Page 16 of 20 PageID:
                                             74600
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3.      Elie Greene v.    21-cv-     Serious Injury Law Group   No records or                   5/9/22
         Aurobindo         3214                                 authorizations, sections I.E.
        Pharma USA,                                             & X. are in conflict
          Inc., et al.                                          regarding who completed
                                                                PFS, plaintiff’s purported
                                                                signature on declaration
                                                                postdates death by more
                                                                than a year




4.      Majorie Smith,    21-cv-     Serious Injury Law Group   III.B.5.a – Still have not      4/19/22
       as Administrator   12740                                 produced photographs of the
        of E.O. Erskine                                         referenced Valsartan
       Smith v. Camber                                          container/packaging that is
       Pharmaceuticals,                                         in Plaintiff’s possession.
           Inc., et al.
                                                                XI.A.1 – Failed to produce
                                                                an individual signature page
                                                                for each of the health care
                                                                authorizations produced
                                                                with the Second Amended
                                                                PFS. Also, no health care
                                                                authorizations were
                                                                produced for: Maria
                                                                Bennett, MD; CVS
                                                                Pharmacy; Urology Centers
                                                                of Alabama; Brookwood
                                                                Health; Kirkland Clinic;
                                                                Birmingham Pain &
                                                                Management & Rehab; or
                                                                Dr. Joelle Hamilton.

                                                                XI.A.5 – One disability
                                                                records authorization was
                                                                produced for an unspecified
                                                                entity. Please produce an
                                                                authorization for respective
                                                                entity.

                                                                XI.A.6 – No signature page
                                                                provide for the produced
     Case 1:19-md-02875-RMB-SAK        Document 2139      Filed 07/26/22     Page 17 of 20 PageID:
                                             74601
       The Honorable Robert B. Kugler
       Special Master the Honorable Thomas Vanaskie
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                                                                insurance records
                                                                authorization for AARP.

                                                                XI.A.7 – No mental health
                                                                records was produced for
                                                                Western Mental Health
                                                                Clinic.

                                                                XI.B.9 – Plaintiff identified
                                                                that there is a Valsartan
                                                                container/packaging in
                                                                Plaintiff’s possession in
                                                                Section III.B.5 of the PFS,
                                                                however no photographs of
                                                                said Valsartan
                                                                container/packaging were
                                                                produced.

                                                                XI.B.18 – Still no billing
                                                                records were produced.XII –
                                                                No executed declaration
                                                                produced with Second
                                                                Amended PFS.

5.      William Davis,    21-cv-     Serious Injury Law Group   I.E.4 – Still failed to         4/19/22
       as Administrator   10767                                 produced supporting
         of E.O. Leila                                          documentation
       Davis v. Camber                                          demonstrating appointment
       Pharmaceuticals,                                         of answering Plaintiff’s
             et al.                                             authority to act as a
                                                                representative on behalf of
                                                                the deceased Plaintiff with
                                                                the Second Amended PFS.

                                                                II.D.4.c-II.D.4.d – Still
                                                                failed to provide
                                                                approximate dates of
                                                                exposure in the Third
                                                                Amended PFSfor: Plaintiff’s
                                                                diet including red and/or
                                                                processed meats, or
                                                                Plaintiff’s diet including
                                                                smoked foods, salted meat
Case 1:19-md-02875-RMB-SAK           Document 2139        Filed 07/26/22     Page 18 of 20 PageID:
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                                                                and fish, and/or pickled
                                                                vegetables.

                                                                III.A.1.b – Still failed to
                                                                identify how decedent
                                                                Plaintiff managed or treated
                                                                her hypertension after
                                                                discontinuing usage of
                                                                Valsartan products prior to
                                                                the date she passed away
                                                                (4/5/2019).

                                                                XI.A.1 – Failed to produce
                                                                an individual signature page
                                                                for each of the health care
                                                                authorizations produced
                                                                with the Second Amended
                                                                PFS. Also, no health care
                                                                authorizations were
                                                                produced for: Wynne
                                                                Crawford, MD; Walmart
                                                                Pharmacy; Palliative and
                                                                Comfort Care Unit;
                                                                Montgomery Cancer Center;
                                                                Scott McDaniel; Capital
                                                                City Gastroenterology, P.C.;
                                                                Pamela Tuck Family
                                                                Practice; UAB Medicine; or
                                                                UAB Liver Tumor Clinic.

                                                                XI.A.7 – Still failed to
                                                                produce any insurance
                                                                records authorizations with
                                                                the Amended PFS.


  First Listing Cases – Remaining Core Deficiencies:

         The following Plaintiff Fact Sheets contain core deficiencies which remain unresolved.

  This list was provided to Plaintiff leadership on July 21, 2022, and a global meet and confer was

  held on July 22, 2022. Defendants have also been available for further discussion as needed. This

  is the first time these cases have been listed on this agenda. Accordingly, Defendants are not
     Case 1:19-md-02875-RMB-SAK            Document 2139         Filed 07/26/22      Page 19 of 20 PageID:
                                                 74603
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       requesting orders to show cause with respect to any of the below cases at this time and will continue

       to meet and confer to resolve these deficiencies.



           Plaintiff         Civil               Law Firm               Deficiencies                     Deficiency
                            Action                                                                       Sent
                              No.
1.     Estate of Connie      22-cv-          Ogborn Mihm LLP                    Need to amend            7/6/22
           Keep v.           02461                                       authorizations; need billing
          Aurobindo                                                       records; need prescription
        Pharma, et al.                                                        info in Section VI.

2.      Sandra Russell       22-cv-           Levin Papantonio              Need billing records;        7/6/22
         v. ZHP, et al.       2389                                         identify dates of colon
                                                                          polyps; identify dates of
                                                                                 Diovan use

3.      Debra Stiles v.      22-cv-      Pittman, Dutton, Hellums,        Missing medical expense        6/22/22
       Aurobindo, et al.     01987         Bradley & Mann P.C.                    records


4.       Jim Smith v.        22-cv-              Hollis Law                     No PFS Filed             PFS DUE -
          ZHP, et al.        01245                                                                       7/2/22

5.     Frank Trimboli        20-cv-             Carlson Law                     No PFS Filed             PFS DUE -
       v. Torrent, et al.    01601                                                                       7/4/22


6.         Audrey            22-cv-          Morgan & Morgan                    No PFS Filed             PFS DUE -
         Dequeant v.          2779                                                                       7/12/22
         Aurobindo
        Pharma, et al.
7.        Estate of          22-cv-           Levin Papantonio                  No PFS Filed             PFS DUE -
       Frances Cain v.       02835                                                                       7/13/22
          ZHP et al.
8.     Walid Elganam         22-cv-          Carlson Law Firm                   No PFS Filed             PFS DUE -
        v. ZHP et al.        02873                                                                       7/17/22
     Case 1:19-md-02875-RMB-SAK          Document 2139          Filed 07/26/22    Page 20 of 20 PageID:
                                               74604
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9.         Richard         20-cv-               Alvin Pittman                 No PFS Filed        PFS DUE -
       Williams v. ZHP     20602                                                                  7/27/22
             et al.
10.    Carrie Collins v.   19-cv-           Haffner Law PC                    No PFS Filed        PFS DUE -
         Aurobindo         16386/                                                                 7/27/22
        Pharma, et al.     19-cv-
                           16387


                                                    Respectfully submitted,


                                                    Clem C. Trischler


       c:     All counsel of record (via ECF)
